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                  UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTICT OF MICHIGAN
                        SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff/Respondent,
                                      Case No. 13-20495
v.                                    Honorable Paul D. Borman
                                      Magistrate Judge Elizabeth A. Stafford
ERNEST THOMPSON,

         Defendant/Petitioner.
__________________________________/

       ORDER GRANTING THE GOVERNMENT’S MOTION TO HAVE
      THE COURT WAIVE THE ATTORNEY-CLIENT PRIVILEGE AND
     MOTION FOR EXTENSION OF TIME TO FILE A RESPONSE [R. 241]

       On July 31, 2015, Defendant-Petitioner Ernest Thompson, a federal

prisoner, filed a motion to vacate, set aside or otherwise correct his

sentence pursuant to 28 U.S.C. § 2255. [R. 234]. In his motion, Thompson

alleges multiple claims of ineffective assistance of counsel. Thompson

alleges that his counsel did not properly explain the ramifications of

pleading guilty to brandishing a firearm during and in relation to a crime of

violence, and therefore his plea was not knowing, intelligent and voluntary.

[Id., PgID 2639-40]. He also claims that he relied on his counsel’s

assurance that he could “defeat” the brandishing charge at sentencing.

[Id., PgID 2642]. Thompson states that “the promises and inducements

made by counsel to [him] [were] ‘outside the record.’” [Id., PgID 2643].
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      On August 21, 2015, the Government moved the Court to order that

Thompson implicitly waived the attorney-client privilege with respect to

communications between him and his attorney related to the purported

“promises and inducements” set forth in the § 2255 petition. [R. 241]. The

Honorable Paul D. Borman referred the Government’s motion to this Court

for determination pursuant to 28 U.S.C. § 636(b)(1)(A). [R. 242].

Thompson has not responded to the Government’s motion, and his

response was due September 8, 2015.

      A claim of ineffective assistance of counsel impliedly waives the

attorney-client privilege as to any communications relevant to the claim. In

re Lott, 424 F.3d 446, 452-54 (6th Cir. 2005). The waiver is construed

narrowly, and the Court “must impose a waiver no broader than needed to

ensure the fairness of the proceedings before it.” Id. at 453 (citation

omitted).

      Here, Thompson implicitly waived the attorney-client privilege with

respect to communications between himself and his attorney to the extent

that those communications are related to his ineffective assistance of

counsel claims in his § 2255 motion to vacate.

      Accordingly, the Court GRANTS the Government’s motion [R. 241] to

narrowly waive the attorney-client privilege with respect to the


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communications between Thompson and his attorney related to

Thompson’s ineffective assistance of counsel claims.

      Further, the Court EXTENDS the Government’s deadline to file a

response to Thompson’s § 2255 motion to vacate until DECEMBER 8,

2015. Thompson’s reply is due by JANUARY 5, 2015.

      IT IS ORDERED.

Dated: September 15, 2015
                                     s/Elizabeth A. Stafford
                                     ELIZABETH A. STAFFORD
                                     United States Magistrate Judge

         NOTICE TO THE PARTIES REGARDING OBJECTIONS

      The parties’ attention is drawn to Fed. R. Civ. P. 72(a), which

provides a period of fourteen (14) days from the date of receipt of a copy of

this order within which to file objections for consideration by the district

judge under 28 U.S. C. §636(b)(1). Unless ordered otherwise by the Court,

the filing of an appeal to the District Judge does not stay the parties’

obligations in this Order. See E.D. Mich. LR 72.2.

                         CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s ECF
System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on September 15, 2015.

                                            s/Marlena Williams
                                            MARLENA WILLIAMS
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                                          Case Manager




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